                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                         )
             In re:                                                      )      Chapter 11
                                                                         )
             Zohar III, Corp., et al.,1                                  )      Case No. 18-10512 (KBO)
                                                                         )
                                                Debtors.                 )      Jointly Administered
                                                                         )
                                                                         )      Docket Ref. No. 2191, 2964, 2968, 3117, 3244

                  STIPULATION AND AGREEMENT AMONG (A) MBIA AS CONTROLLING
                 SECURED PARTY OF ZOHAR II 2005-1, LIMITED, (B) THE CONTROLLING
                  CLASS FOR ZOHAR III, LIMITED AND (C) THE DEBTORS REGARDING
                        EXTENDING THE OUTSIDE CASH COLLATERAL DATE

                      This Stipulation and Agreement Among (A) MBIA as Controlling Secured Party of Zohar

         II 2005-1, Limited, (B) the Controlling Class for Zohar III, Limited, and (C) the Debtors

         Regarding Extending the Outside Cash Collateral Date (this “Agreement”) is entered into by

         and among the debtors and debtors in possession (the “Debtors”) in the above-captioned chapter

         11 cases (the “Chapter 11 Cases”), MBIA Insurance Corporation (“MBIA”), in its capacity as

         the Controlling Secured Party for Zohar II, and the Controlling Class for Zohar III (the “Zohar

         III Controlling Class”, and together with MBIA, the “Controlling Secured Parties”), in its

         capacity as the Controlling Secured Party for Zohar III. The Debtors and the Controlling Secured

         Parties are referred to as the “Parties” herein.

                      WHEREAS, on December 16, 2020, the Court entered an order approving debtor-in-

         possession financing, use of cash collateral, and granting adequate protection [Docket No. 2191],

         which was amended on December 28, 2021 [Docket No. 2968] (the “DIP/CC Order”);


         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261) (“Zohar
         III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1, Limited (5119) (“Zohar I,” and together
         with Zohar II and III, the “Zohar Funds”). The Debtors’ address is c/o FTI Consulting, Inc., 1166 Avenue of the
         Americas, 15th Floor, New York, NY 10036.
29347996.1
                WHEREAS, paragraph 8 of the DIP/CC Order established the Outside Cash Collateral

         Date, which was subject to amendment by the Parties. Under the DIP/CC Order, the Outside

         Cash Collateral date (a) for Zohar II, was originally defined by reference to the point in time at

         which certain expenditures related to professional fees reached $25 million and (b) for Zohar III,

         was set at April 30, 2022;

                WHEREAS, MBIA and the Debtors entered into a series of stipulations, each of which

         were consented to by the Indenture Trustee, providing for an extension of the Outside Cash

         Collateral Date for Zohar II and the Outside Cash Collateral Date for Zohar II is currently March

         31, 2022. See Docket Nos. 2964, 3117, 3244.

                WHEREAS, the Parties have engaged in further discussions regarding the extension of

         the Outside Cash Collateral Date;

                WHEREAS, the Parties have reached an agreement to further extend the Outside Cash

         Collateral Date as set forth below.

                NOW, THEREFORE, in consideration of the mutual promises herein and for other

         valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties

         stipulate and agree as follows:

                1.      The “Outside Cash Collateral Date” for Zohar II and Zohar III is extended to May

         31, 2022.

                2.      The Debtors shall transfer $3,200,000 from Zohar II’s Monetization Proceeds

         Account) to Zohar II’s Designated Account.

                3.      The execution, delivery and effectiveness of this Agreement shall not operate as a

         waiver of any right, power or remedy of the Indenture Trustee or any Controlling Secured Party

         under the DIP/CC Order, the Indentures or any other document, instrument or agreement


29347996.1

                                                         -2-
         executed in connection therewith, nor constitute a waiver of any provision contained therein,

         except as specifically set forth herein.

                4.      This Agreement may be executed in any number of counterparts, all of which

         taken together shall constitute one and the same agreement, and any of the Parties may execute

         this Agreement by signing any such counterpart. Delivery of an executed counterpart of a

         signature page of this Agreement by telecopy or other electronic imaging means (e.g. “pdf” or

         “tif”) shall be effective as delivery of a manually executed counterpart of this Agreement.


                                      [SIGNATURE PAGES FOLLOW]




29347996.1

                                                        -3-
         Dated: June 8, 2022

             Cadwalader, Wickersham &Taft LLP              Arnold & Porter Kaye Scholer LLP

             /s/ Ingrid Bagby                              /s/ Brian J. Lohan
             Ingrid Bagby                                  Brian J. Lohan
             20 Liberty Street                             70 West Madison Street Suite 4200
             New York, NY 10281                            Chicago, Illinois 60602-4231

             Counsel to MBIA                               Counsel to the Zohar III Controlling Class

             Young Conaway Stargatt & Taylor, LLP

             /s/ Ryan M. Bartley
             Ryan M. Bartley (No. 4985)
             Rodney Square
             1000 North King Street
             Wilmington, Delaware 19801

             Counsel to the Debtors


         CONSENTED TO, by U.S. Bank, N.A., as Indenture Trustee under the applicable Indentures,
         solely with respect to Paragraph 1.


             Pashman Stein Walder Hayden, P.C.

             /s/ John W. Weiss
             John W. Weiss
             Bell Works
             101 Crawfords Corner Road, Suite 402
             Holmdel, NJ 07733

             Counsel to U.S. Bank, N.A., as Indenture
             Trustee




29347996.1
             [Signature Page to Stipulation and Agreement Among the Controlling Secured Parties and the
                                   Debtors Regarding Outside Cash Collateral Date]
